
79 So.3d 151 (2012)
Mark A. REYES, Appellant,
v.
The STATE of Florida, Appellee.
No. 3D11-3295.
District Court of Appeal of Florida, Third District.
February 1, 2012.
Mark A. Reyes, in proper person.
*152 Pamela Jo Bondi, Attorney General, for appellee.
Before CORTIÑAS, LAGOA and EMAS, JJ.
PER CURIAM.
The trial court's order denying, on its merits, a timely-filed motion to reduce or modify sentence pursuant to Florida Rule of Criminal Procedure 3.800(c) is not appealable. Accordingly, we dismiss this appeal for lack of jurisdiction. See Diaz v. State, 931 So.2d 1002 (Fla. 3d DCA 2006); Smith v. State, 902 So.2d 293 (Fla. 3d DCA 2005).
